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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

JASMINE ATKINS,                           §
                                          §
                     Plaintiff,           §
                                          §
v.                                        §             C.A. NO. 6:20-cv-01162
                                          §
                                          §
WRIGHT & BROWN CORPORATION                §
D/B/A JIM WRIGHT COMPANY                  §
                                          §             JURY DEMANDED
                                          §
                     Defendant.           §

                                      COMPLAINT

       Plaintiff, JASMINE ATKINS, files this Complaint and Jury Demand against Defendant

WRIGHT & BROWN CORPORATION D/B/A JIM WRIGHT COMPANY (Defendant, or Jim

Wright Company) alleging willful violation of Title VII of the Civil Rights Act of 1964, as

amended, and 42 U.S.C. Sec. 1981. For causes of action, Plaintiff would show the Court as

follows:

                                        I.
                        PARTIES, JURISDICTION, VENUE, AND
                          ADMINISTRATIVE EXHAUSTION

       1.     Plaintiff, JASMINE ATKINS, is a resident of Bell County, Texas.

       2.     Defendant WRIGHT & BROWN CORPORATION is an entity which can be

served with Citation through its Registered Agent, James M. Wright, 3800 South W.S. Young

Dr, Ste 101, Killeen, TX 76542.
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        3.      At all times relevant to this case, Defendant WRIGHT & BROWN

CORPORATION acted as Plaintiff’s employer.

        4.      This Court has jurisdiction to hear the merits of Ms. Atkins’ claims under 28

U.S.C. §1331. The Court has supplemental jurisdiction over Ms. Atkins’ claims arising under

Texas statutory law under 28 U.S.C. §1367. Venue is proper in this district and division under 28

U.S.C. §1391(b)(1) because the incidents that gave rise to the claims in this case occurred within

this district and division.

        5.      Plaintiff exhausted her administrative remedies in this case by filing a Charge of

Discrimination with the U.S. Equal Employment Opportunity Commission and the Texas

Workforce Civil Rights Division on March 4, 2019, within 180 days of her termination on

January 17, 2019. Plaintiff received a Right to Sue notice from the U.S. Equal Opportunity

Commission on or after September 22, 2020.

                                           II.
                                  FACTUAL BACKGROUND

        6.      Ms. Atkins was hired by the Jim Wright Company in September 2016 as the

Marketing Coordinator. She is African-American.

        7.      In October 2018, Ms. Atkins was setting up for an event with another employee,

who is white. One of the props for the event was a ghost, and the white employee kept referring

to the ghost as looking like a KKK member. Ms. Atkins reported his remarks to HR

representative, Suzanne Gilbert. Ms. Gilbert did nothing about Ms. Atkins’ report.

        8.      On December 20, 2018, Ms. Atkins was hanging Christmas lights with some

other employees, including Defendant's owner, Jim Wright. While they were hanging the lights,
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Mr. Wright said, "hang 'em like they used to do the black people." Ms. Atkins immediately

e-mailed Ms. Gilbert to let her know that that had happened.

       9.        On January 16, 2019, a meeting to address Ms. Atkins’ concerns about Mr.

Wright's comment was held. The meeting was attended by Mr. Wright, Ms. Gilbert, Ms. Gilbert's

manager, and Ms. Atkins’ manager, among others. Mr. Wright was angry during the meeting and

challenged Ms. Atkins. He kept asking her "so you think I'm a racist? How am I racist?" Ms.

Atkins told him that she was not calling him racist, but that she had been offended by his

comment about hanging black people. After the meeting, Ms. Gilbert and her manager asked Ms.

Atkins what could be done to "get beyond this." She told them that she thought it would be good

to have a policy or procedure telling employees what to do if they think there is discrimination.

Ms. Gilbert responded: "you got the sexual harassment policy. What more do you want?"

       10.       Ms. Atkins was fired the following day, January 17, 2019.

                                            III.
                                      CAUSE OF ACTION

                      DISCRIMINATION UNDER TITLE VII
             OF THE CIVIL RIGHTS ACT OF 1964 AND 42 U.S.C. SEC. 1981


       11.       Plaintiff timely filed with the Equal Employment Opportunity Commission

(EEOC) a charge of discrimination against Defendant. Plaintiff received a notice of the

right to sue from the EEOC within 90 days of the filing of this complaint.

       12.       Plaintiff was an employee within the meaning of Title VII and belongs to a class

protected under the statute, namely Plaintiff was discriminated against because of her race

(African-American) in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C.A.

§2000e2(a)(1).
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       13.     Defendant is an employer within the meaning of Title VII.

       14.     Title VII of the Civil Rights Act of 1964 states, in pertinent part, that, “(a) It shall

be an unlawful employment practice for an employer (1) to fail or refuse to hire or to discharge

any individual, or otherwise to discriminate against any individual with respect to his

compensation, terms, conditions, or privileges of employment, because of such individual's race,

color, religion, sex, or national origin; or (2) to limit, segregate, or classify his employees or

applicants for employment in any way which would deprive or tend to deprive any individual of

employment opportunities or otherwise adversely affect his status as an employee, because of

such individual's race, color, religion, sex, or national origin.”

       15.     42 U.S.C. §1981 prohibits race discrimination in the making and enforcing of

contracts, including the making, performance, modification, and termination of contracts, and the

enjoyment of all benefits, privileges and conditions of the contractual relationship.

       16.     Defendant intentionally discriminated against Plaintiff because of her race in

violation of Title VII and 42 U.S.C. §1981 by creating a racially hostile work environment and

retaliated against Plaintiff in violation of Title VII 42 U.S.C. §1981 by terminating her

employment. The unlawful practices committed by Defendant were and are a direct cause of

Plaintiff’s damages.

                                               IV.
                                             DAMAGES

       17.     As a result of Defendant’s unlawful conduct, Plaintiff has suffered economic and

actual damages, including past and future lost income, back wages, interest on back pay and

front pay, future wages or front pay, lost earnings in the past and future, lost benefits under the

contract or employment relationship, employment benefits in the past, and employment benefits
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in the future. Plaintiff has also incurred other actual damages as a result of Defendant’s unlawful

conduct, including but not limited to past and future pecuniary losses, emotional pain and

suffering, inconvenience, mental anguish, loss of enjoyment of life, injury to professional

standing, injury to character and reputation, and other pecuniary and non-pecuniary losses.

                                         V.
                                COMPENSATORY DAMAGES

       18.     Defendant intentionally engaged in an unlawful employment practice by

discriminating against Plaintiff because of her race. Plaintiff additionally brings suit for

compensatory damages, including emotional pain and suffering, inconvenience, mental anguish,

loss of enjoyment of life, injury to professional standing, injury to character and reputation, lost

earning capacity in the past and future, and other pecuniary and non-pecuniary losses.

                                            VI.
                                     PUNITIVE DAMAGES

       19.     The conduct committed by Defendant against Plaintiff is the type of conduct

demonstrating malice or reckless indifference to the rights of the Plaintiff. Therefore, Plaintiff

additionally brings suit for punitive damages.

                                        VII.
                          ATTORNEYS’ FEES AND EXPERT FEES

       20.     A prevailing party may recover reasonable attorneys’ and experts’ fees under

Title VII, 42 U.S.C. Sec. 1981, and the Texas Commission on Human Rights Act. Plaintiff seeks

all reasonable and necessary attorneys' fees in this case, including preparation and trial of this

lawsuit, post-trial, pre-appeal legal services,and any appeals. Plaintiff additionally brings suit for

expert fees.
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                                            VIII.
                                        JURY DEMAND

       21.     Plaintiff demands a trial by jury of all the issues and facts in this case and tenders

herewith the requisite jury fee.

                                            PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that:

       1.      The Court assume jurisdiction of this cause;

       2.      The Court award Plaintiff damages as specified above;

       3.      The Court award Plaintiff reinstatement or, in the alternative, front pay;

       4.      The Court award Plaintiff’s reasonable attorneys’ and expert fees and costs;

       5.      The Court award Plaintiff pre- and post-judgment interest at the highest rates

allowed.

       Plaintiff further prays for any such other relief as the Court may find proper, whether at

law or in equity.

                                              Respectfully submitted,

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                                              /s/ Kell A. Simon
                                              Kell A. Simon
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